Case 22-60043 Document 231-4 Filed in TXSB on 10/12/22 Page 1 of 9

Exhibit S-4
Case 22-60043 Document 231-4 Filed in TXSB on 10/12/22 Page 2 of 9

UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT

ERICA LAFFERTY; DAVID WHEELER;
FRANCINE WHEELER; JACQUELINE
BARDEN; MARK BARDEN; NICOLE
HOCKLEY; IAN HOCKLEY; JENNIFER
HENSEL; JEREMY RICHMAN; DONNA
SOTO; CARLEE SOTO-PARISI; CARLOS
M. SOTO; JILLIAN SOTO; AND WILLIAM
ALDENBERG,

Plaintiffs,

Vv.
ALEX EMRIC JONES; FREE SPEECH
SYSTEMS, LLC,

Defendants.

Adv. Pro, No. 22-05019
ECF No. 5

Plaintiff,
Adv. Pro. No. 22-05020

v.
ALEX EMRIC JONES; FREE SPEECH ECF No. 5

SYSTEMS, LLC,
Defendants.

WILLIAM SHERLACH & ROBERT PARKER,
Plaintiffs,

v.
ALEX EMRIC JONES; FREE SPEECH
SYSTEMS, LLC,

Defendants.

Adv. Pro. No. 22-05021

)
)
)
)
)
)
)
)
)
)
)
)

WILLIAM SHERLACH, )
)
)
)
)
)
)
)
)
)
) ECF No. 5
)

)
)

ORDER GRANTING EMERGENCY MOTIONS FOR REMAND

L Introduction

On December 5, 2018, Erica Garbatini f/k/a Erica Lafferty (the “Debtor”) filed a Chapter
7 case in this Court, which remains pending. The Debtor is a plaintiff in the first of the three
above-referenced adversary proceedings, Adv. Pro. No. 22-05019. On July 29, 2022, Free

Speech Systems, LLC (“FSS”), filed a Chapter 11 petition in the United States Bankruptcy Court

Case 22-60043 Document 231-4 Filed in TXSB on 10/12/22 Page 3 of 9

for the Southern District of Texas, Case No. 22-60043, which remains pending. FSS is a
defendant in all three of the above-referenced adversary proceedings.

On August 2, 2022, FSS commenced the adversary proceedings in this Court by filing
Notices of Removal of three consolidated Connecticut Superior Court actions.' On August 3,
2022, the Plaintiffs filed Emergency Motions to Remand the adversary proceedings to the
Connecticut Superior Court (the “Motions for Remand”). Among other things, the Motions for
Remand assert that FSS filed the Notices of Removal after jury trial began in the Connecticut
Superior Court,

FSS filed objections to the Motions for Remand (the “Objections”). The Objections do
not dispute that the Notices of Removal were filed after jury selection began. The Objections
also do not dispute that a trial in the Connecticut Superior Court is scheduled to begin on
September 6, 2022.

An expedited hearing on the Motions for Remand and the Objections was held on August
12, 2022. After consideration of the record in these adversary proceedings, the arguments
asserted in the Motions for Remand, the Objections, and advanced by the parties during the

hearing, and for the reasons set forth below, the Motions for Remand are GRANTED.

| This is not the first time the Connecticut Superior Court actions have been removed to this
Court. On April 18, 2022, three entities related to FSS—Infowars, LLC, Infowars Health, LLC
and Prison Planet TV, LLC (collectively, the “Debtors”), filed Chapter 11 cases in the United
States Bankruptcy Court for the Southern District of Texas. Also on April 18, 2022, the Debtors
filed Notices of Removal of the Connecticut Superior Court actions in this Court (Adv. Pro. Nos.
22-05004, 22-05005, and 22-05006). In connection with the dismissal of the Debtors’
bankruptcy cases in the United States Bankruptcy Court for the Southern District of Texas, this
Court ordered that the Notices of Removal be withdrawn, which resulted in the Plaintiffs’ actions
being remanded to the Connecticut Superior Court on June 1, 2022. See, 2.g., ECF No. 36 in
Adv. Pro. No. 22-05004.
Case 22-60043 Document 231-4 Filed in TXSB on 10/12/22 Page 4 of 9

I. Jurisdiction

28 U.S.C. § 1452(a) permits a party to remove a claim or cause of action in a civil action
to the district court for the district in which such claim or action is pending. FSS asserts that this
Court has jurisdiction over the removed cases pursuant to section 1452(a) because of the
Debtor’s Chapter 7 case. The Plaintiffs do not dispute that this Court has jurisdiction over the
removed cases which are now the subject of the adversary proceedings.

Section 1334(b) provides that the district courts have jurisdiction over all civil
proceedings arising under title 11 or arising in or related to cases under title 11. This Court
derives its authority to hear and determine this matter pursuant to 28 U.S.C. § 157(6)(1) and the

District Court’s General Order of Reference dated September 21, 1984.

OI. Discussion

Because the parties do not agree on whether the claims in Connecticut Superior Court
actions are core or non-core proceedings, mandatory abstention by this Court under 28 U.S.C. §
1334(c)(2) is not appropriate, See, ¢.g., Inre National Eastern Corporation, 391 B.R. 663
(Bankr. D. Conn. 2008). However, permissive abstention may be appropriate under section
1334(c)(1). Id. at 669. Furthermore, 28 U.S.C. § 1452(b) specifically address removal of claims
related to bankruptcy cases and permits a court to remand a removed action on any equitable
ground. 28 U.S.C. § 1452(b).

In general, courts look to the following factors to decide whether to permissibly abstain
from a case or to equitably remand a case: (1) the effect on the administration of the bankruptcy
estate; (2) the extent to which issues of state law predominate; (3) the complexity of the state law
issues; (4) comity; (5) the relatedness/remoteness of the action to the main bankruptcy case; (6)

the right to a jury trial; and (7) the prejudice to the involuntarily removed parties. Jn re National
Case 22-60043 Document 231-4 Filed in TXSB on 10/12/22 Page 5 of 9

Eastern Corporation, 391 B.R. 663, 670. The list of factors is non-exclusive and the
determination of whether an equitable ground exists to remand involves an assessment of what
makes sense under the specific facts and circumstances presented to a court. id. at 671.

A review of the first factor, the effect on the efficient administration of the bankruptcy
estate, weighs in favor of remand. A remand will not have a negative effect on the
administration of FSS’s bankruptcy estate. The parties dispute whether the Plaintiffs’ claim are
core or non-core claims. If the claims are non-core, this Court cannot enter a final judgment on
the Plaintiffs’ claims. Regardless of whether the claims are core or non-core, the claims must be
adjudicated, and the Connecticut Superior Court is ready to do so. It is undisputed that jury
selection had already begun when the Notices of Removal were filed and trial is scheduled to
begin on September 6, 2022. A trial of the Plaintiffs’ claims in the Connecticut Superior Court
may assist with the administration of FSS’s bankruptcy estate and will alleviate the need for
another court to determine if the Plaintiffs’ claim are core or non-core. See ¢.g., In re National
Eastern Corporation, 391 B.R. at 670. In addition, FSS asserts that remand will have a negative
impact on the administration of its bankruptcy estate because of the costs associated with the trial
of the Plaintiffs’ claims. However, FSS is proceeding forward with the administration of its
bankruptcy estate, including recently obtaining an order allowing it to increase its use of cash
collateral based upon increased income due to better than projected sales of products since its
bankruptcy case was filed. See In re Free Speech Systems LLC, United States Bankruptcy Court
for the Southern District of Texas, Case No. 22-60043, ECF Nos. 55, 64. For these reasons,
remand will not negatively impact the administration of FSS’s bankruptcy estate.

The second factor, the extent to which issues of state law predominate, also weighs in

favor of remand. The Plaintiffs’ claims are exclusively based on state law even though, as FSS
Case 22-60043 Document 231-4 Filed in TXSB on 10/12/22 Page 6 of 9

argues, the claims relate only to damages. See e.g., Inve Granoff, 242 B.R. 216, 220 (Bank. D.
Conn. 1999). Such claims include negligent and intentional infliction of emotional distress,
violations of the Connecticut Unfair Trade Practices Act, and defamation. The Defendants’
challenges to the sufficiency of the Plaintiffs’ claims have not succeeded in the Connecticut
Superior Court. Furthermore, the Plaintiffs’ claims have been pending before the same judge for
more than four years. The Connecticut Superior Court has extensive knowledge and familiarity
with the claims and the parties. The docket of the Superior Court actions attached to the
Objections demonstrate that there are more than 800 docket entries in the cases and that the
Connecticut Superior Court has issued many substantive rulings. The Connecticut Superior
Court has acted on all matters that needed to be decided before trial and was overseeing jury
selection on August 2, 2022, when the Notices of Removal were filed. Under the circumstances
surrounding these adversary proceedings, issues of state law predominate and the Connecticut
Superior Court is in the best position to decide the-Plaintiffs’ state law claims.

The third and fourth factors, the complexity of the state law issues and principles of
comity, also weigh in favor of remand. The Plaintiffs’ state law claims are extensive and
complex. A trial of the claims will require a resolution of factual, legal, and evidentiary issues
based on Connecticut law. Despite several attempts by FSS and related entities to remove the
actions from the Connecticut Superior Court, the claims are ready to be tried in the Connecticut
Superior Court. The claims arise under Connecticut common law and the Connecticut Unfair

Trade Practices Act. Both comity and respect for state law supports remanding the actions to the

2 In addition to the prior Notices of Removal filed in this Court, FSS and related entities twice
removed the Connecticut Superior Court actions to the United States District Court for the
District of Connecticut and on both occasions the actions were remanded to the Connecticut
Superior Court. See, e.g., Lafferty v. Jones (3:18-cv-01156-JCH) and Lafferty v. Jones (3:20-cv-

01723-JCH).
5
Case 22-60043 Document 231-4 Filed in TXSB on 10/12/22 Page 7 of 9

Connecticut Superior Court for the interpretation of common law and state statutes. Jn re
Granoff, 242 B.R. at 220.

The fifth factor, the relatedness/remoteness of the Connecticut Superior Court actions to
the FSS bankruptcy case, also supports remand. The Plaintiffs’ claim arose years before FSS
filed its Chapter 11 case. As previously noted, FSS does not dispute that it filed the Notices of
Removal after jury selection was underway in the Connecticut Superior Court. During a hearing
held on August 2, 2022, before jury selection began, the Connecticut Superior Court agreed that
jury selection and the trial could not proceed against FSS due to the automatic stay it received
when it filed its Chapter 11 case on July 29, 2022. However, the Connecticut Superior Court
determined that jury selection and trial could proceed against the Defendant Alex Emric Jones
(“Jones”), because FSS has not sought or obtained an order extending the automatic stay to
Jones. See ECF No. 5 at 5-8, p. 14-18. The Connecticut Superior Court then proceeded with
jury selection as to the claims against Jones and not FSS, supporting the finding that there isa
remoteness between the continuation of the Connecticut Superior Court actions and the FSS
bankruptcy estate.

The Plaintiffs’ right to a jury trial, the sixth factor, additionally supports remand.
Although the parties dispute whether the Plaintiffs’ claims are core or non-core, this Court
cannot conduct a jury trial on non-core claims. In addition, it is clear that the parties do not
consent to a jury trial being conducted by this Court. A jury is in the process of being selected in
the Connecticut Superior Court. The Plaintiffs’ rights to have that process continue in the
Connecticut Superior Court should not be disturbed.

The seventh and final factor, the prejudice to the involuntarily removed parties, weighs

heavily in favor of remand. The Plaintiffs have been pursuing their claims against FSS and
Case 22-60043 Document 231-4 Filed in TXSB on 10/12/22 Page 8 of 9

others for more than four years. The pursuit of these claims has occurred not only in the
Connecticut Superior Court, but in other courts as well. On multiple occasions, the Plaintiffs
have had to pursue their claims in the United States District Court for the District of Connecticut,
the United States Bankruptcy Court for the Southern District of Texas, and this Court. During
jury selection and just weeks before trial is scheduled to begin in the Connecticut Superior Court,
the Plaintiffs were involuntarily removed to this Court. The Plaintiffs’ claims are ready to be
tried in the Connecticut Superior Court. If remand does not occur, the prejudice to the Plaintiffs
is much greater than any possible prejudice to FSS.

Upon a review of the circumstances surrounding these adversary proceedings and
consideration of the factors to be analyzed when deciding a motion for remand, the Court finds
that is it appropriate to abstain and remand the adversary proceedings to the Connecticut
Superior Court in accordance with 28 U.S.C. § 1334(c)@) and 28 U.S.C. § 1452(b).

Finally, although the Plaintiff seeks an award of fees and costs pursuant to 28 US.C. §
1447(c), the Court declines to award fees and costs at this time.

IV. CONCLUSION

Accordingly, it is hereby

ORDERED: In accordance with 28 U.S.C. § 1334(c)(1) and 28 U.S.C. § 1452(b), the
Motions for Remand are GRANTED and Adversary Proceedings 92-05019, 22-05020, and 22-

05021 are remanded to the Connecticut Superior Court; and it is further

ORDERED: The Plaintiffs’ request for fees and costs pursuant to 28 U.S.C. § 1447(c) is

DENIED; and it is further
Case 22-60043 Document 231-4 Filed in TXSB on 10/12/22 Page 9 of 9

ORDERED: Any pending motions in Adversary Proceedings 22-05019, 22-05020, and

22-05021 aré moot due to the remand of the adversary proceedings,

Dated at Bridgeport, Connecticut this 15th day of August, 2022.

<es
Juli A. Manning
Untted Sires RunCripley Juslge
DistrialiwfCounfcticue
i =f
